 UNITED STATES OF AMERICA,                )
                                          )
               v.                         )             INDICTMENT
                                          )
 RIGO JERMAIN DAVIS                       )

        The Grancl Jury char~es that:


        On or about·September 17, 2019, in the Eastern District of North Carolina,

 defendant RICO JERMAIN DAVIS, knowing he had previously been convicted of a

 crime punishable by imprisonment for a term exceeding one year, knowingly

· possessed a firearm in and affectingcoxn.merce, in violation of Title· 18, United States'

 Code, Sections 922(g)(l) and 924.




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                                    FORFEITURE NOTICE

       The defendant is given notice that all of the defendant's interest in all property

specified herein is subject to forfeiture.

       Upon conviction of the offense(s) set forth in'the Indictment, the defendant

shall forfeit to the United States, pursuant to Title 18, United States Code, Section

924(d), as made applicable by Title 28, United States Code, Section 2461(c), any and

all firearms and ammunition involved in or used in a knowing commission of the said

offense(s).

       The forfeitable property includes, but is not limited to, any and all ammunition

seized from the defendant on or about September 17, 2019.

       If any of the above-described forfeitable property,, as a result of any act or

omission of the defendant --

       (1)    cannot be located upon the exercise of due diligence;

       (2)    has been transferred or sold to, or deposited with, a third person;

       (3)    has been placed beyond the jurisdiction of the court;

       (4)    has been substantially diminished in value; or

       (5)    has been commingled with other property which cannot be subdivided

              without difficulty,

it is the intent of the United States, pursuant to Title 21, United States Code, Section




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853(p), to seek forfeiture of any other property of said defendant up to the value of

the above forfeitable property.


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                                               TRUE BILL:_ _ _ _d_              ~   7_
                                             ~PER-S-0~.,..------___j
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                                             DATE

ROBERT J. HIGDON, JR.
United States Attorney


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